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                          IN THE UNITED STATES DISTRICT COURT

                                  FOR THE DISTRICT OF IDAHO

 GEORGE ASSAD, Individually and On                     )
 Behalf of All Others Similarly Situated,              )   Case No. ______________
                                                       )
                          Plaintiff,                   )
                                                       )   CLASS ACTION
         v.                                            )
                                                       )
 U.S. GEOTHERMAL INC., JOHN H.                         )   JURY TRIAL DEMANDED
 WALKER, PAUL LARKIN, LELAND                           )
 MINK, JAMES C. PAPPAS, RANDOLPH J.                    )
 HILL, ALI HEDAYAT, and DOUGLAS J.                     )
 GLASPEY,                                              )
                                                       )
         Defendants.                                   )

  COMPLAINT FOR VIOLATION OF THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges upon

personal knowledge with respect to himself, and upon information and belief based upon, inter

alia, the investigation of counsel as to all other allegations herein, as follows:

                                       NATURE OF THE ACTION

       1.       This action stems from a proposed transaction announced on January 24, 2018 (the

“Proposed Transaction”), pursuant to which U.S. Geothermal Inc. (“U.S. Geothermal” or the

“Company”) will be acquired by Ormat Nevada Inc. (“Parent”) and OGP Holding Corp. (“Merger




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Sub,” and collectively with Parent, “Ormat”).

         2.       On January 24, 2018, U.S. Geothermal’s Board of Directors (the “Board” or

“Individual Defendants”) caused the Company to enter into an agreement and plan of merger (the

“Merger Agreement”) with Ormat. Pursuant to the terms of the Merger Agreement, shareholders

of U.S. Geothermal will receive $5.45 in cash for each share of U.S. Geothermal common stock

owned.

         3.       On March 2, 2018, defendants filed a Preliminary Proxy Statement (the “Proxy

Statement”) with the United States Securities and Exchange Commission (“SEC”) in connection

with the Proposed Transaction.

         4.       The Proxy Statement omits material information with respect to the Proposed

Transaction, which renders the Proxy Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “1934 Act”) in connection with the Proxy Statement.

                                  JURISDICTION AND VENUE

         5.       This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the 1934

Act and Rule 14a-9.

         6.       This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

         7.       Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.




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                           PARTIES AND RELEVANT ENTITIES

       8.       Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of U.S. Geothermal common stock.

       9.       Defendant U.S. Geothermal is a Delaware corporation and maintains its principal

executive offices at 390 E Parkcenter Blvd., Suite 250, Boise, Idaho 83706. U.S. Geothermal’s

common stock is traded on the NYSE under the ticker symbol “HTM.”

       10.      Defendant John H. Walker (“Walker”) has served as Chairman of the Board of the

Company since December 2003.

       11.      Defendant Paul Larkin (“Larkin”) has served as a director of the Company since

March 2000.

       12.      Defendant Leland Mink (“Mink”) has served as a director of the Company since

November 2006.

       13.      Defendant James C. Pappas (“Pappas”) has served as a director of the Company

since September 2016.

       14.      Defendant Randolph J. Hill (“Hill”) has served as a director the Company since

September 2016.

       15.      Defendant Ali Hedayat (“Hedayat”) has served as a director of the Company since

January 2017.

       16.      Defendant Douglas J. Glaspey (“Glaspey”) is a co-founder and has served as

President of the Company since September 2011. Glaspey has served as a director of the Company

since 2000 and is currently the interim Chief Executive Officer (“CEO”).

       17.      The defendants identified in paragraphs 10 through 16 are collectively referred to

herein as the “Individual Defendants.”




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        18.     Non-party Parent is a Delaware corporation and a party to the Merger Agreement.

        19.     Non-party Merger Sub is a Delaware corporation, a wholly-owned subsidiary of

the Parent, and a party to the Merger Agreement.

                                CLASS ACTION ALLEGATIONS

        20.     Plaintiff brings this action as a class action on behalf of himself and the other public

stockholders of U.S. Geothermal (the “Class”). Excluded from the Class are defendants herein

and any person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

        21.     This action is properly maintainable as a class action.

        22.     The Class is so numerous that joinder of all members is impracticable. As of

December 31, 2017, there were approximately 19,449,984 shares of U.S. Geothermal common

stock outstanding, held by hundreds, if not thousands, of individuals and entities scattered

throughout the country.

        23.     Questions of law and fact are common to the Class, including, among others,

whether defendants will irreparably harm plaintiff and the other members of the Class if

defendants’ conduct complained of herein continues.

        24.     Plaintiff is committed to prosecuting this action and has retained competent counsel

experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the other

members of the Class and plaintiff has the same interests as the other members of the Class.

Accordingly, plaintiff is an adequate representative of the Class and will fairly and adequately

protect the interests of the Class.

        25.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible standards

of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the




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interests of individual members of the Class who are not parties to the adjudications or would

substantially impair or impede those non-party Class members’ ability to protect their interests.

       26.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

       27.     U.S. Geothermal is a leading and profitable renewable energy company focused on

the development, production, and sale of electricity from geothermal energy.

       28.     The Company is currently operating geothermal power projects at Neal Hot

Springs, Oregon, San Emidio, Nevada, and Raft River, Idaho for a total power generation of

approximately 45 MWs.

       29.     The Company is also developing an additional estimated 115 MWs of projects at:

the Geysers, California; a second phase project at San Emidio, Nevada; at Crescent Valley,

Nevada; and the El Ceibillo project located near Guatemala City, Guatemala.

       30.     According to its website, U.S. Geothermal’s growth goal is to reach over 200 MWs

of generation by 2021 through a combination of internal development and strategic acquisitions.

       31.     On January 24, 2018, the Individual Defendants caused the Company to enter into

the Merger Agreement with Ormat.

       32.     Pursuant to the terms of the Merger Agreement, shareholders of U.S. Geothermal

will receive $5.45 in cash for each share of U.S. Geothermal common stock owned.

       33.     According to the press release announcing the Proposed Transaction:

       U.S. Geothermal Inc. (the “Company”) (NYSE American: HTM) announced today that it
       has entered into a definitive merger agreement under which a wholly owned subsidiary



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       of Ormat Technologies, Inc. (“Ormat”) (NYSE:ORA) will acquire the Company
       for $5.45 per share in an all cash transaction.

       The agreement, which has been unanimously approved by both companies’ Boards of
       Directors, represents a premium of approximately 28.5% to the prior day closing stock
       price on January 23rd, 2018. . . .

       The transaction is not subject to a financing condition and is expected to close during the
       second quarter of 2018, subject to the approval of US Geothermal shareholders and the
       satisfaction of customary closing conditions, including applicable regulatory approvals.

       Certain funds advised by JCP Investment Management, LLC, which own approximately
       15.0% of the outstanding shares of US Geothermal, as well as the directors and officers of
       US Geothermal have entered into an agreement to vote in favor of the transaction.

       34.     The Merger Agreement contains a “no solicitation” provision that prohibits the

Individual Defendants from soliciting alternative proposals and severely constrains their ability to

communicate and negotiate with potential buyers who wish to submit or have submitted

unsolicited alternative proposals.

       35.     Additionally, the Company must promptly advise Ormat of any proposals or

inquiries received from other parties.

       36.     Moreover, the Merger Agreement contains a highly restrictive “fiduciary out”

provision permitting the Board to change its recommendation of the Proposed Transaction under

extremely limited circumstances, and grants Ormat a “matching right” with respect to any

“Superior Proposal” made to the Company.

       37.     The Merger Agreement also provides for a “termination fee” of over $3 million

payable by the Company to Ormat if the Individual Defendants cause the Company to terminate

the Merger Agreement.

The Proxy Statement Omits Material Information, Rendering It False and Misleading

       38.     On March 2, 2018, defendants filed the Proxy Statement with the SEC in

connection with the Proposed Transaction.



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       39.     The Proxy Statement omits material information with respect to the Proposed

Transaction, which renders the Proxy Statement false and misleading.

       40.     First, the Proxy Statement fails to disclose whether any non-disclosure agreements

executed by the Company and the prospective bidders contained standstill and/or “don’t ask, don’t

waive” provisions that are or were preventing those counterparties from submitting superior offers

to acquire the Company.

       41.     Without this information, stockholders may have the mistaken belief that, if these

potentially interested parties wished to come forward with a superior offer, they are or were

permitted to do so, when in fact they are or were contractually prohibited from doing so.

       42.     Second, the Proxy Statement omits material information regarding potential

conflicts of interest of the Company’s financial advisor, ROTH Capital Partners, LLC (“ROTH”).

       43.     Specifically, the Proxy Statement fails to disclose the amount of compensation

ROTH has received and/or will receive for the services it provided to the Company in connection

with the Proposed Transaction, as well as the percentage of such fee that is contingent upon

consummation of the merger.

       44.     Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

       45.     Third, the Proxy Statement omits material information regarding the background

of the Proposed Transaction. Stockholders are entitled to an accurate description of such process.

       46.     For example, the Proxy Statement fails to disclose the timing and nature of all

communications regarding the voting agreements that were entered into in connection with the

Proposed Transaction.




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       47.     The Proxy Statement also fails to disclose the powers/authorities of the special

committee of the Board that was formed in connection with the Proposed Transaction.

       48.     The omission of the above-referenced material information renders the Proxy

Statement false and misleading, including, inter alia, the following sections of the Proxy

Statement: (i) Background of the Merger; (ii) The Recommendation of U.S. Geothermal’s Board

and U.S. Geothermal’s Reasons for the Merger; and (iii) Opinion of U.S. Geothermal’s Financial

Advisor.

       49.     The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to U.S. Geothermal’s stockholders.

                                             COUNT I

      Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
           Thereunder Against the Individual Defendants and U.S. Geothermal

       50.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       51.     The Individual Defendants disseminated the false and misleading Proxy Statement,

which contained statements that, in violation of Section 14(a) of the 1934 Act and Rule 14a-9, in

light of the circumstances under which they were made, omitted to state material facts necessary

to make the statements therein not materially false or misleading. U.S. Geothermal is liable as the

issuer of these statements.

       52.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual Defendants

were aware of this information and their duty to disclose this information in the Proxy Statement.

       53.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       54.     The omissions and false and misleading statements in the Proxy Statement are



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material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       55.     The Proxy Statement is an essential link in causing plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       56.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       57.     Because of the false and misleading statements in the Proxy Statement, plaintiff

and the Class are threatened with irreparable harm.

                                            COUNT II

                     Claim for Violation of Section 20(a) of the 1934 Act
                             Against the Individual Defendants

       58.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       59.     The Individual Defendants acted as controlling persons of U.S. Geothermal within

the meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions as

officers and/or directors of U.S. Geothermal and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the Proxy

Statement, they had the power to influence and control and did influence and control, directly or

indirectly, the decision making of the Company, including the content and dissemination of the

various statements that plaintiff contends are false and misleading.

       60.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or cause



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them to be corrected.

        61.    In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control and influence the particular transactions giving rise to the violations as alleged

herein, and exercised the same. The Proxy Statement contains the unanimous recommendation of

the Individual Defendants to approve the Proposed Transaction. They were thus directly in the

making of the Proxy Statement.

        62.    By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

1934 Act.

        63.    As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the 1934 Act and

Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as controlling

persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act. As a direct and

proximate result of defendants’ conduct, plaintiff and the Class are threatened with irreparable

harm.

                                     PRAYER FOR RELIEF

        WHEREFORE, plaintiff prays for judgment and relief as follows:

        A.     Preliminarily and permanently enjoining defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

        B.     In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

        C.     Directing the Individual Defendants to disseminate a Proxy Statement that does not

contain any untrue statements of material fact and that states all material facts required in it or




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necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder;

       E.      Awarding plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff respectfully requests a trial by jury on all issues so triable.

 Dated: March 16, 2018                               HEPWORTH HOLZER, LLP

                                                By: /s/John W. Kluksdal
                                                    John W. Kluksdal

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